      Case 2:11-cr-20066-SFC-EAS ECF No. 165, PageID.466 Filed 08/13/13 Page 1 of 2

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
 UNITED STATES OF AMERICA,

                     Plaintiff,                        Case Number: 11-20129
              v.
                                                       HON. ROBERT H. CLELAND
 D-1 SCOTT WILLIAM SUTHERLAND, et al.

                   Defendants.
 ___________________________________/

 UNITED STATES OF AMERICA,

                     Plaintiff,                        Case Number; 11-20066

             v.
                                                       HON. ROBERT H. CLELAND
 D-1 JEFF GARVIN SMITH, et al.

                     Defendants.




         ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY


             The Court orders that the request of Defendant VICTOR C. CASTANO to substitute Richard G.

      Convertino, as attorney of record instead of James C. Howrath is hereby GRANTED.

       Contact information for new counsel is as follows:

                     Firm Name:     Convertino & Associates
                     Address:       424 North Main Street,
                                    Plymouth, Michigan, 48170,
                     Telephone:     (734) 927-9900 Facsimile: (734) 927-9904
                     E-Mail:        rgc@convertino.net




 s/Robert H. Cleland
ROBERT H. CLELAND
UNITED STATES DISTRICT JUDGE


Dated: August 13, 2013
I herebyCase
          certify that a copy of the foregoingECF
                2:11-cr-20066-SFC-EAS          document was PageID.467
                                                   No. 165, mailed to counsel of record
                                                                          Filed         and/or
                                                                                 08/13/13      pro se
                                                                                            Page      parties
                                                                                                   2 of 2 on
this date, August 13, 2013, by electronic and/or ordinary mail.


 s/Lisa Wagner
Case Manager and Deputy Clerk
(313) 234-5522
